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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

Case No. 2:19-cv-07208-JGB-MAA                                           Date: November 4, 2021
Title       Rodney Lee Rollness v. Felipe Martinez Jr.


Present:    The Honorable MARIA A. AUDERO, United States Magistrate Judge


                   James Muñoz                                            N/A
                   Deputy Clerk                                  Court Reporter / Recorder

    Attorneys Present for Plaintiff/Petitioner:      Attorneys Present for Defendants/Respondent:
                      N/A                                                 N/A

Proceedings (In Chambers):         Order to Show Cause Re: Dismissal for Lack of Prosecution

        Plaintiff/Petitioner is ordered to show cause, in writing, no later than December 6, 2021, why
this action should not be dismissed for lack of prosecution.

      If Plaintiff/Petitioner files the following on or before the above date, the Order to Show
Cause will be discharged, and no additional action need be taken.

        ☐       Proof of service of the summons and complaint
        ☐       Amended complaint
        ☒       Status report
        ☐       Written response to the Court’s attached order (order attached)
        ☒       Notice of voluntary dismissal (form attached)

       Plaintiff/Petitioner is cautioned that failure to respond to this Order may result in
dismissal of the Complaint/ Petition without prejudice for failure to prosecute and/or failure to
comply with a court order pursuant to Federal Rule of Civil Procedure 41(b). See C.D. Cal.
L.R. 41-1.

        It is so ordered.

Attachment
Form Notice of Dismissal




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